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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv.
DONNIE DUANE WREN, and

THOMAS HARLEN SMITH,

Defendants.

CRIMINAL NO.

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

GOVERNMENT’S MOTION TO SEAL INDICTMENT AND
DELAY ENTRY OF THIS CASE ON THE PUBLIC DOCKET

The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place under seal the Indictment, this motion and

proposed order, and any order granting this motion, and to delay entry of this criminal case on the

public docket until the arrest warrants for the defendants are executed, at which time the Indictment

and related documents shall be automatically unsealed. In support thereof, the Government states
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as follows:

1, The United States is investigating allegations that Donnie Duane Wren and Thomas Harlen
Smith willfully and knowingly entered the United States Capitol grounds on January 6, 2021 without legal
authority and participated in violent and disorderly conduct in violation of 18 U.S.C. § 231(a)(3); 18 U.S.C.
§§ 1512(c)(2) and 2; 18 U.S.C. § I11(a)(1); 18 U.S.C. §§ 1752(a)(1)-(2) and (4); and 40 U.S.C.
§§ 5104(e)(2)(D) and (G).

2. Both defendants have been charged with assaulting law enforcement officers during
the riot on January 6, 2021. In addition, in a private message sent after the riot, through Facebook,
Smith claimed that he had a pistol in his pocket during the riot on January 6. The public disclosure
of the Government’s evidence could compromise the integrity of the investigation, including the
ability of the United States to locate and safely arrest the defendants. The Government also
anticipates imminently obtaining one or more search warrants for items believed to be in the
defendants’ possession. Premature disclosure of the charging documents may risk hampering those
efforts or lead to the destruction of evidence. Thus, a sealing order is necessary to avoid hindering
the ongoing investigation in this matter.

3. As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),
there is a presumption of access to Court proceedings. But, this can be overridden if “*(1) closure
serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,
this compelling interest would be harmed; and (3) there are no alternatives to closure that would
adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United
States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

4. In this matter, the United States has a compelling interest in arresting the

defendants. A limited sealing order ensuring that filings related to the Indictment and Arrest

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Warrants are not accessible from the Court’s public files is narrowly tailored to serve a compelling
interest.

5. Furthermore, the United States respectfully submits that complying with the normal
notice requirements of Washington Post would defeat the purpose of the motion to seal. Persons
who know the criminal justice system also know that docketing a motion to seal an Indictment and
Arrest Warrants, or a resulting sealing order, means that the defendant is charged with a crime,
and the Government intends to arrest them. Thus, if this Motion or a sealing order were to become
public, it would be the same as making public the Indictment and Arrest Warrants.

5. To ensure that the Indictment and related documents are unsealed promptly upon the
arrest of the defendant, the government requests that these documents be automatically unsealed
by operation of the Court’s order, and that the government be permitted to share the documents
publicly at that time.

WHEREFORE, the United States respectfully requests that this Court issue an Order
directing that the Clerk of the Court place and maintain under seal, the Indictment, the Arrest
Warrants, this motion and proposed order, and any order granting this motion, and to delay entry

of this criminal case on the public docket until the arrest warrants for the defendants have been
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executed, at which time the Indictment and related documents shall be automatically unsealed and

may be publicly shared by the government.

Respectfully submitted,
CHANNING D. PHILLIPS

ACTING UNITED STATES ATTORNEY
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/s/Michael J. Romano

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